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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

REGINALD GREEN                                                                               Plaintiff

v.                                                                Civil Action No. 317CV-204-RGJ

HEALTHCARE REVENUE RECOVERY                                                              Defendants
GROUP, ET AL.

                                            * * * * *

                                             ORDER


       The Court, having been advised by counsel that settlement has been reached on all

matters in this case DE 38, ORDERS that this action be, and the same hereby is, DISMISSED

WITHOUT PREJUDICE and STRICKEN from the ACTIVE DOCKET.

       The parties shall tender an agreed order dismissing this case with prejudice within

forty-five (45) days of entry of this Order. The Court will entertain a motion to redocket this

action upon application to this Court within forty-five (45) days from entry of this Order if the

settlement is not consummated.




           July 10, 2018




Copies to: Counsel of Record
